          Case 4:18-cv-00282-KGB Document 3 Filed 05/29/18 Page 1 of 4



                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

TERESA BLOODMAN                                                                    PLAINTIFF

v.                            CASE NO. 4:18-cv-00282-KGB

ARKANSAS SUPREME COURT COMMITTEE
ON PROFESSIONAL CONDUCT (the “Committee”);
ROBERT STARK LIGON, Executive Director,
Arkansas Supreme Court Committee on
Professional Conduct; JAMES DUNHAM, as
Chair of the Committee; MICHAEL BOYD; T. BENTON
SMITH; TONYA PATRICK1; LISA C. BALLARD2;
KAROLYN JONES; MARK L. MARTIN3; DANYELLE
WALKER; and, TANYA R. OWEN4, as Members of
Panel A of the Arkansas Supreme Court Committee on
Professional Conduct; the HONORABLE KIM SMITH, in
his capacity as Special Judge; the HONORABLE JOHN
KEMP, as Chief Justice of the Supreme Court of Arkansas;
The HONORABLE ROBIN F. WYNNE5; the HONORABLE
COURTNEY HUDSON GOODSON; the HONORABLE
JOSEPHINE L. HART; the HONORABLE SHAWN A.
WOMACK; the HONORABLE KAREN BAKER; the
HONORABLE RHONDA K. WOOD6, as Associate
Justices of the Supreme Court of Arkansas                DEFENDANTS


1Defendant Tonya Patrick was a member of Panel C on March 21, 2016, but substituted for a Panel
A member who was not present.

2Defendant Lisa C. Ballard was not a member of Panel A at the time the Interim Order of
Suspension was imposed on March 21, 2016. Ballard was appointed effective January 1, 2018.

3Defendant Mark L. Martin was not a member of Panel A at the time the Interim Order of
Suspension was imposed on March 21, 2016. Martin was appointed effective January 1, 2017.

4Defendant Tanya R. Owen was not a member of Panel A at the time the Interim Order of
Suspension was imposed on March 21, 2016. Own was appointed effective January 1, 2018.

5Defendant Honorable Robin F. Wynne recused as an Associate Justice in the Arkansas Supreme
Court Disbarment case D-16-301 on May 27, 2016, prior to Plaintiff filing her Motion to Dismiss and
Response to the Disbarment Petition.

6Defendant Honorable Rhonda K. Wood recused as an Associate Justice in the Arkansas Supreme
Court Disbarment case D-16-301 on April 11, 2016, prior to Plaintiff filing her Motion to Dismiss and
Response to the Disbarment Petition.



                                                 1
           Case 4:18-cv-00282-KGB Document 3 Filed 05/29/18 Page 2 of 4



                              MOTION TO DISMISS

      Come now Defendants, Arkansas Supreme Court Committee on Professional

Conduct (the “Committee”); Robert Stark Ligon, Executive Director of the Arkansas

Supreme Court Committee on Professional Conduct, in his official and individual

capacity; James Dunham, as Chair of the Committee; Michael Boyd, T. Benton

Smith, Tonya Patrick, Lisa C. Ballard, Karolyn Jones, Mark L. Martin, Danyelle

Walker, and Tanya R. Owen, as members of Panel A of the Committee; the

Honorable Kim Smith, in his capacity as Special Judge; the Honorable John Kemp,

as Chief Justice of the Supreme Court of Arkansas; the Honorable Robin F. Wynne,

the Honorable Courtney Hudson Goodson, the Honorable Josephine L. Hart, the

Honorable Shawn A. Womack, the Honorable Karen Baker, the Honorable Rhonda

K. Wood, as Associate Justices of the Supreme Court of Arkansas; (hereinafter

collectively referred to as “Defendants”), by and through their attorneys, Attorney

General Leslie Rutledge, Deputy Attorney General Monty V. Baugh, and Assistant

Attorney General William C. Bird III, and for their Motion to Dismiss, state the

following:

      1.      Defendants are entitled to sovereign immunity from Plaintiff’s

Complaint pursuant to the Eleventh Amendment of the United States Constitution.

      2.      Defendants are entitled to absolute immunity and qualified from

Plaintiff’s Complaint.

      3.      This Court lacks subject matter jurisdiction over Plaintiff’s Complaint

under the Rooker-Feldman doctrine.




                                          2
           Case 4:18-cv-00282-KGB Document 3 Filed 05/29/18 Page 3 of 4



      4.      Plaintiff’s Complaint is barred by the doctrines of abstention.

      5.      Plaintiff’s constitutional claims for prospective injunctive relief should

be dismissed for lack of Article III standing.

      6.      Plaintiff’s Fifth and Fourteenth Amendment claims for due process

and equal protection violations fail to state claims upon which relief may be

granted.

      7.      Plaintiff’s Complaint fails to state a claim for civil conspiracy under 42

U.S.C. § 1985(3), and such claim should be dismissed.

      8.      In addition to the foregoing, Defendants reserve the right to plead

further and to raise any objection, defense, or bases for relief not asserted herein.

      9.      A Brief in Support of this Motion is submitted herewith and is

incorporated by reference.

      WHEREFORE, Defendants respectfully request that the Court grant their

Motion to Dismiss and for any and all other relief to which they are entitled.

                                                 Respectfully submitted,

                                                 LESLIE RUTLEDGE
                                                 Attorney General

                                        By:      /s/ William C. Bird III
                                                 William C. Bird III
                                                 Ark Bar No. 2005149
                                                 Assistant Attorney General
                                                 Ark. Attorney General's Office
                                                 323 Center Street, Suite 200
                                                 Little Rock, AR 72201
                                                 Phone: (501) 682-1317
                                                 Fax: (501) 682-2591
                                                 william.bird@arkansasAG.gov




                                           3
        Case 4:18-cv-00282-KGB Document 3 Filed 05/29/18 Page 4 of 4



                                             Monty V. Baugh
                                             Ark. Bar No. 2008138
                                             Deputy Attorney General
                                             Ark. Attorney General's Office
                                             323 Center Street, Suite 200
                                             Little Rock, AR 72201
                                             Phone: (501) 682-1681
                                             Fax: (501) 682-2591
                                             monty.vaugh@arkansasAG.gov

                                             Attorneys for Plaintiff



                          CERTIFICATE OF SERVICE

       I, William C. Bird III, Assistant Attorney General, hereby certify that on May
29, 2018, I electronically filed the foregoing with the Clerk of Court using the
CM/ECF system, which shall send notification of such filing to any CM/ECF
participants.

                                       /s/ William C. Bird III




                                         4
